     Case 2:20-cv-10487-RGK-AS Document 17 Filed 01/12/21 Page 1 of 1 Page ID #:83



 1                                                                                        JS-6
 2
 3
 4
 5
 6                                 UNITED STATES DISTRICT COURT
 7                               CENTRAL DISTRICT OF CALIFORNIA
 8
     BRIAN WHITAKER,                                       Case No. 2:20-cv-10487-RGK-AS
 9
                            Plaintiff(s),                  ORDER DISMISSING ACTION FOR
10                                                         LACK OF PROSECUTION
     vs.
11
     1612 Cahuenga, LLC et al.,
12
                            Defendant(s).
13
14          On December 28, 2020, an Order to Show Cause re Dismissal for Lack of Prosecution
15   (OSC) was issued by the Court. A response to the OSC was due on or before January 5, 2021.
16   As of this date, plaintiff has not filed a response to the OSC, therefore, the Court orders the
17   matter dismissed for lack of prosecution.
18          IT IS SO ORDERED.
19
     Dated: January 12, 2021
20                                                         R. GARY KLAUSNER
                                                           UNITED STATES DISTRICT JUDGE
21
22
23
24
25
26
27
28
